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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

GABRIELA CAMPOS,                                  §
                                                  §
           Plaintiff,                             §
                                                  §
v.                                                §              Civil Action No. 4:23-cv-01493
                                                  §
MIDFIRST BANK,                                    §
                                                  §
           Defendant.                             §

       MIDFIRST BANK’S ANSWER TO PLAINTIFF’S AMENDED COMPLAINT

        MidFirst Bank (“Defendant” or “MidFirst”), Defendant in the above-styled and numbered

cause, files this Answer to Plaintiff Gabriela Campos’ (“Plaintiff” or “Campos”) Amended

Complaint (“Complaint”) [Doc. 12].

                                                 I.
                                          ANSWER TO CLAIMS

        1.        MidFirst admits the statement contained in Paragraph 1 of the Complaint.

        2.        MidFirst admits the statements contained in Paragraph 2 of the Complaint is

correct.

        3.        MidFirst admits the statements of Paragraph 3 of the Complaint.

        4.        MidFirst admits that that the Property made subject of this suit is correctly

described in Relevant Facts, Paragraph 1 of the Complaint.

        5.        MidFirst admits that Plaintiff and her non-party spouse purchased the Property as

described Relevant Facts, Paragraph 2 of the Complaint, but denies that Plaintiff executed the

Note. MidFirst further states that the document attached as Exhibit 1 and 2 speak for themselves.

        6.        MidFirst admits the statements of Relevant Fact, Paragraph 3 of the Complaint.




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        7.      MidFirst admits that Plaintiff was given a forbearance as stated in Relevant Fact,

Paragraph 4 of the Complaint, but denies the remaining allegations of that Paragraph.

        8.      MidFirst admits the allegations in Relevant Facts, Paragraph 5 of the Complaint.

MidFirst further states that the document attached as Exhibit 3 speaks for itself.

        9.      MidFirst denies the allegations of Relevant Facts, Paragraph 6 of the Complaint.

        10.     MidFirst states that no response is necessary to Plaintiff’s incorporation by

reference of the previous paragraphs as stated in Paragraph 7 of the Complaint, to the extent any

response is necessary, all allegations are denied.

        11.     MidFirst denies the allegations of Paragraph 8 of the Complaint.

        12.     MidFirst states that no response is necessary to Plaintiff’s incorporation by

reference of the previous paragraphs as stated in Paragraph 9 of the Complaint, to the extent any

response is necessary, all allegations are denied.

        13.     MidFirst denies the allegations of Paragraph 10 of the Complaint.

        14.     MidFirst denies the allegations of Paragraph 11 of the Complaint .

        15.     MidFirst denies the allegations of Paragraph 12 of the Complaint.

        16.     MidFirst denies the allegations of Paragraph 13 of the Complaint.

        17.     MidFirst denies the allegations of Paragraph 14 of the Complaint.

        18.     MidFirst denies Plaintiff is entitled to the relief requested in the PRAYER portion

of the Complaint.

                                             II.
                                    AFFIRMATIVE DEFENSES

        19.     In addition to and without waiving the foregoing specific denials made herein,

MidFirst asserts the following affirmative defenses to the allegations in Plaintiff’s Complaint.

        20.     Plaintiff fails to state a claim upon which relief can be granted.


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        21.     Plaintiff’s claims are barred by Plaintiff’s prior breach.

        22.     Plaintiff’s claims are barred by unclean hands.

        23.     Plaintiff’s claims are barred due to MidFirst’s compliance with the terms of the

Deed of Trust and the Texas Property Code.

        24.     Plaintiff’s claims are barred the economic loss doctrine.

        25.     Plaintiff’s claims are barred the statute of frauds.

        26.     Plaintiff’s damages, if any, which MidFirst does not admit, were caused in whole

or in part by Plaintiff’s own acts, negligent or otherwise, and MidFirst is thus not liable.

                                          CONCLUSION

        MidFirst Bank files this Answer to Plaintiff’s Amended Complaint. [Doc. 12]. MidFirst

prays that Plaintiff’s Amended Complaint be dismissed and that Plaintiff take nothing by way of

her claims. MidFirst further prays that it be awarded such other relief, whether at law or in equity,

to which it may be justly entitled.

                                               Respectfully submitted,

                                               By:     /s/ Shelley L. Hopkins
                                                       Shelley L. Hopkins – Attorney In Charge
                                                       State Bar No. 24036497
                                                       SD ID No. 926469
                                                       HOPKINS LAW, PLLC
                                                       3 Lakeway Centre Ct., Suite 110
                                                       Austin, Texas 78734
                                                       (512) 600-4320
                                                       BARRETT DAFFIN FRAPPIER
                                                       TURNER & ENGEL, LLP - Of Counsel
                                                       ShelleyH@bdfgroup.com
                                                       shelley@hopkinslawtexas.com

                                                       Robert D. Forster, II
                                                       State Bar No. 24048470
                                                       SD ID No. 2647781
                                                       BARRETT DAFFIN FRAPPIER
                                                       TURNER & ENGEL, LLP

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                                                   4004 Belt Line Road, Ste. 100
                                                   Addison, Texas 75001
                                                   (972) 386-5040
                                                   RobertFO@bdfgroup.com

                                                   ATTORNEYS FOR DEFENDANT


                                   CERTIFICATE OF SERVICE

      Pursuant to Federal Rules of Civil Procedure, the foregoing has been filed with the Court
via CM/ECF and sent to all parties of record on this the 7th day of July 2023.

Robert C. Vilt
VILT LAW, P.C.
5177 Richmond Avenue, Suite 1142
Houston, Texas 77056
clay@viltlaw.com

ATTORNEYS FOR PLAINTIFF

                                                   /s/ Shelley L. Hopkins
                                                   Shelley L. Hopkins




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